Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 1 of 43 PageID #: 11344


                                                                               1


   1                         UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK
   2
        - - - - - - - - - - - - - - X
   3
        UNITED STATES OF AMERICA,           :   15-CR-00252(PKC)
   4                                        :
                                            :
   5                                        :
                 -against-                  :   United States Courthouse
   6                                        :   Brooklyn, New York
                                            :
   7                                        :
                                            :   Wednesday, August 16, 2017
   8    JEFFREY WEBB, et al.,               :   12:30 p.m.
                                            :
   9               Defendant.               :
                                            :
  10
        - - - - - - - - - - - - - - X
  11

  12          TRANSCRIPT OF CRIMINAL CAUSE FOR STATUS CONFERENCE
                      BEFORE THE HONORABLE PAMELA K. CHEN
  13                      UNITED STATES DISTRICT JUDGE

  14
                                A P P E A R A N C E S:
  15

  16    For the Government:      BRIDGET M. ROHDE, ESQ.
                                   Acting United States Attorney
  17                               Eastern District of New York
                                     271 Cadman Plaza East
  18                                 Brooklyn, New York 11201
                                BY: SAMUEL P. NITZE, ESQ.
  19                                 KEITH EDELMAN, ESQ.
                                     KAITLIN TERESA FARRELL, ESQ.
  20                                 Assistant United States Attorneys

  21
        For the Defendant:       BALLARD SPAHR, LLP
  22     Jose Maria Marin           919 Third Avenue
                                    37th Floor
  23                                New York, New York 10022
                                 BY:CHARLES ALLEN STILLMAN, ESQ.
  24                                JAMES ALFRED MITCHELL, ESQ.
                                    BRADLEY GERSHEL, ESQ.
  25



                          SAM     OCR     RMR      CRR     RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 2 of 43 PageID #: 11345


                                                                                2


   1
        For the Defendant:       GREENBERG TRAURIG, LLP
   2    Juan Angel Napout           One International Place
                                    Boston, Massachussetts 02110
   3                             BY:A. JOHN PAPPALARDO, ESQ.
                                    ELLIOT H. SCHERKER, ESQ.
   4                                JACQUELINE BECERRA, ESQ. ***

   5                             PINERA-VAZQUEZ LAW FIRM
                                    1900 SW 3rd Avenue
   6                                Miami, Florida 33129
                                 BY:SILVIA PINERA-VAZQUEZ, ESQ.
   7                                (Via Speakerphone)

   8    For the Defendant:       BRUCE L. UDOLF, ESQ.
         Manuel Burga               500 East Broward Boulevard
   9                                Suite 1400
                                    Fort Lauderdale, Florida 33394
  10                             BY:BRUCE L. UDOLF, ESQ.
                                    (Via Speakerphone)
  11

  12    *** Participated via speakerphone

  13

  14

  15

  16    Court Reporter:    Stacy A. Mace, RMR, CRR
                           Official Court Reporter
  17                       E-mail: SMaceRPR@gmail.com

  18    Proceedings recorded by computerized stenography.          Transcript
        produced by Computer-aided Transcription.
  19

  20

  21

  22

  23

  24

  25



                          SAM     OCR     RMR     CRR      RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 3 of 43 PageID #: 11346


                                        Proceedings                             3


   1                              (In open court.)

   2               THE COURTROOM DEPUTY:         Criminal cause for status

   3    conference, Docket 15-CR-252, United States versus Jose Marin,

   4    Juan Napout and Manuel Burga.

   5               Will the parties please state their appearances for

   6    the record?

   7               MR. NITZE:    Sam Nitze, Keith Edelman and Kaitlin

   8    Farrell for the United States.

   9               Good afternoon, Judge.

  10               THE COURT:    Good afternoon.

  11               MR. EDELMAN:     Good afternoon.

  12               MS. FARRELL:     Good afternoon.

  13               MR. PAPPALARDO:      Good afternoon, Your Honor.      John

  14    Pappalardo on behalf of Mr. Napout.

  15               MR. SCHERKER:     Elliot Scherker on behalf of

  16    Mr. Napout.

  17               THE COURT:    Good afternoon to both of you.

  18               MR. SCHERKER:     Good afternoon.

  19               MR. STILLMAN:     Your Honor, Charles Stillman, Jim

  20    Mitchell and Brad Gershel on behalf of Mr. Marin.

  21               MR. MITCHELL:     Good afternoon, Judge.

  22               THE COURT:    Good afternoon to you gentlemen.

  23               And on the phone.

  24               MS. PINERA-VAZQUEZ:      Hi, I'm sorry, this is Silvia

  25    Pinera.   We can barely hear the court proceedings.



                          SAM     OCR      RMR      CRR    RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 4 of 43 PageID #: 11347


                                        Proceedings                            4


   1               THE COURT:    All right, I will keep my voice up.         Can

   2    you hear me better now?

   3               MS. PINERA-VAZQUEZ:      I can hear you now.     I didn't

   4    hear any of the appearances.       Would you like us to state our

   5    appearances now?

   6               THE COURT:    Yes.

   7               MS. PINERA-VAZQUEZ:      This is Silvia Pinera-Vazquez

   8    and Jacqueline Becerra on behalf Juan Angel Napout on the

   9    phone from Pinera-Vazquez.

  10               THE COURT:    All right, good afternoon to you both.

  11               MS. BECERRA:     Good afternoon.

  12               MR. UDOLF:    Good afternoon, Your Honor.       This is

  13    Bruce Udolf on behalf of Manuel Burga.

  14               THE COURT:    Okay, good afternoon to you.

  15               All right, as the parties know we are here on two

  16    separate sets of motions.       The first one, which was filed

  17    originally by Mr. Napout, but joined with some amplification

  18    by the other two defendants, seeks essentially three things, I

  19    guess you could say.     The first is translations of all foreign

  20    language discovery, and that would include any documents that

  21    the Government intends to introduce at trial.

  22               And the second is Spanish language transcriptions

  23    for all audio recordings of which the Government has provided

  24    English translations.

  25               Now, I actually grouped together in some way, I



                          SAM     OCR      RMR    CRR      RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 5 of 43 PageID #: 11348


                                        Proceedings                             5


   1    guess, the three defendants' separate requests, but I probably

   2    should break them out to clarify something.

   3                 Mr. Napout's original request was to get English

   4    translations of all foreign language documents that were

   5    produced in discovery.       And that referred to documents, in

   6    particular.    But Mr. Udolf and Mr. Mitchell expanded that

   7    request to include, in essence, all foreign language

   8    discovery.

   9                 I guess to you, Mr. Mitchell, did you mean to

  10    include recordings and documents?

  11                 MR. MITCHELL:    No, I think I was -- we were joining

  12    with respect to the --

  13                 THE COURTROOM DEPUTY:       I am sorry, you are going to

  14    have to speak into the microphone.

  15                 MR. MITCHELL:    We are joining with respect to

  16    Mr. Napout's motion for translations.         I understood their

  17    motion to be on the documents --

  18                 THE COURT:   Correct.

  19                 MR. MITCHELL:    -- for translation of all foreign

  20    language documents.

  21                 THE COURT:   Correct.

  22                 MR. MITCHELL:    So we join as to that with respect to

  23    the issue of what the Government intends to use at trial, as

  24    well as with respect to the tapes.         We just supplemented

  25    because I don't think they included Portuguese tapes in their



                          SAM     OCR      RMR      CRR    RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 6 of 43 PageID #: 11349


                                        Proceedings                              6


   1    request.

   2               MR. UDOLF:    Can you hear?

   3               MS. PINERA-VAZQUEZ:      No.

   4               I'm sorry to interrupt, but it seems like you guys

   5    are coming in and out.      Is there any way that we can raise the

   6    volume?

   7               THE COURT:    All right, what I am going to do is ask

   8    all the lawyers to use the microphone.

   9               MR. MITCHELL:     Is this better, Ms. Pinera?       Can you

  10    hear me?   Oh, hopefully.

  11               Judge, all I was saying was that we join with

  12    respect to Mr. Napout's motion on the document translations,

  13    which I understand to be for all language -- all non-English

  14    language translations.

  15               THE COURT:    That is your request, not Mr. Napout's

  16    original request.

  17               MR. MITCHELL:     I think the original request actually

  18    was for all of them, and then on the tapes they just asked for

  19    the Spanish.

  20               THE COURT:    You are right.

  21               MR. MITCHELL:     We ask that it include the

  22    Portuguese, that's all.

  23               THE COURT:    Okay.    And then I think, Mr. Udolf, you

  24    joined in the request for the Government to provide all

  25    translations of all documents, regardless of the original



                          SAM     OCR      RMR    CRR      RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 7 of 43 PageID #: 11350


                                        Proceedings                             7


   1    language, and that would be in addition to the Spanish -- oh,

   2    I guess actually, I am so sorry.         Let me go back again.

   3                This actually relates to, okay, there are two

   4    categories of documents essentially.          One are the English

   5    translations of all of the foreign language documents produced

   6    in discovery.    That is what everybody wants.

   7                Second, and this is where the expansion comes from

   8    the other two defendants, the defendants collectively want

   9    transcriptions in the original language of all audio

  10    recordings provided by the Government.

  11                So have I characterized that correctly at this

  12    point?

  13                MR. MITCHELL:    Yes, Your Honor.      I think all we did

  14    was add the Portuguese because I think they had just left it

  15    off in their original question.

  16                Mr. Udolf included, I think, every other potential

  17    language.   Although, I don't think there are any other tapes

  18    other than Portuguese and Spanish.

  19                THE COURT:   Okay.

  20                MR. MITCHELL:    But, basically, we just wanted to

  21    make sure that if there were interim transcripts that were

  22    made in a language of Spanish or Portuguese or some other

  23    language, we get those interim transcripts.

  24                THE COURT:   All right.

  25                And then the other motion made by Mr. Napout, in



                          SAM     OCR      RMR     CRR     RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 8 of 43 PageID #: 11351


                                        Proceedings                            8


   1    essence, asked for a discovery cut-off date.

   2               So let me address first the request for the

   3    translations and transcriptions.          So first of all, as the

   4    Government does note, they are not required to provide English

   5    translations of all discovery that they provide.          I think

   6    Judge Ross's decision in Mayes is instructive, certainly in

   7    part, because it relates to audio recordings, but I think it

   8    is equally applicable to documents.          And, basically, she wrote

   9    in that decision, which is 2011 Westlaw 5320976 from

  10    November 2nd, 2011, that the Government is under no obligation

  11    to provide a transcript of audio recordings it has made

  12    available to defense counsel.

  13               And then she goes on to say that draft transcripts

  14    are provided by the Government voluntarily to assist the

  15    defense in preparing for trial.          And then she, of course, goes

  16    on to say that it is fair and appropriate for the Government

  17    to only produce draft transcripts with stipulations, and this

  18    district has routinely enforced those stipulations with regard

  19    to draft transcripts.

  20               A more recent decision on that issue was Judge

  21    Kuntz's decision in U.S. versus Bumagin, 136 F. Supp. 3d, 361

  22    from September 29th, 2015, and Judge Kuntz reiterates that

  23    stipulations relating to draft transcripts are enforceable and

  24    operate to prohibit the use of the draft transcript as limited

  25    by the stipulations.



                          SAM     OCR      RMR      CRR    RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 9 of 43 PageID #: 11352


                                        Proceedings                            9


   1               Now, the reason I cite Mayes is because the

   2    defendants all want the Government to, essentially, translate

   3    into English all of the foreign language documents that were

   4    produced during discovery beyond those that the Government

   5    intends to use at trial, and there simply is no support in

   6    Rule 16 or cited by any of the defendants for requiring the

   7    Government to do that.

   8               I also think, as the Government correctly points

   9    out, that in this case that would be an inordinately

  10    burdensome and largely useless endeavor for the Government to

  11    engage in because as the parties themselves argued to me

  12    repeatedly, there are many, many documents that do not relate

  13    directly to the defendants, themselves.         Mr. Napout argues

  14    this most vociferously and repeatedly that there is so much

  15    discovery that does not really relate to him, but in theory

  16    relates to the broader RICO conspiracy that is alleged; or is

  17    just being provided because the Government is complying with

  18    its discovery requests to the fullest extent where we have a

  19    case that involves a hundred-plus page Indictment and 20-plus

  20    indicted individuals.

  21               So I just do not see any basis in the law or in

  22    practical terms for granting the request for all discovery

  23    documents to be translated by the Government.            And the

  24    Government does cite some cases related to CJA funds being

  25    used for translations, but even there, there are limits placed



                          SAM     OCR      RMR    CRR      RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 10 of 43 PageID #: 11353


                                        Proceedings                           10


    1   on what documents have to be translated and it has to be tied

    2   in some way to a genuine issue of need or utility, and I do

    3   not see that here.

    4               That being said, the Government, of course, is

    5   required to, and acknowledges that it is required to provide

    6   English translations for all documents it intends to use as

    7   exhibits at trial.      I understand that they have been doing

    8   that throughout the course of discovery.

    9               MR. STILLMAN:    Excuse me, Your Honor.

   10               THE COURT:    Actually, let me take it back.       With

   11   respect to documents, I gather that that is not true.           But

   12   with respect to about 200 audiotapes, the Government has

   13   provided English translations/transcriptions, and I know that

   14   there is another part of the motion that complains about that

   15   to some extent.     But my understanding also from the

   16   Government, and obviously I am accepting their representation,

   17   is that a good part of the documents that will be introduced

   18   by the Government at trial are statutes and regulations in

   19   foreign languages that can be readily translated by all

   20   parties, I gather, and also are not going to be particularly

   21   controversial or subject to investigation, such that the

   22   translation is going to be so critical to trial preparation.

   23               The other part of the documentary evidence, I

   24   understand, are bank records and those do not contain, as

   25   represented to me by the Government, a lot of narrative or



                          SAM     OCR      RMR     CRR     RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 11 of 43 PageID #: 11354


                                        Proceedings                             11


    1   text or material in foreign languages that has to be

    2   translated, but rather it will have a stock set of terms such

    3   as accounts or balances, credits, et cetera, that can be

    4   readily translated by the Government and turned over.           But I

    5   assume most of the bank records have numbers, more than they

    6   do text.

    7               Now, obviously, that does not represent everything,

    8   and the Government will have to, with all due speed, turn over

    9   English translations of all the documentary exhibits that they

   10   intend to introduce.

   11               So, perhaps, Mr. Nitze, you can give me some idea of

   12   the volume of documents we are talking about in terms of trial

   13   exhibits or likely trial exhibits that have yet to be turned

   14   over with respect to the English translation?

   15               MR. NITZE:    Yes, thank you, Your Honor.       If I could

   16   just go over a couple of points you just made, and then answer

   17   your question.

   18               First, you are right with respect to the recordings.

   19   We recently turned over to two of the three defendants under

   20   stipulation updated and fairly well updated draft English

   21   language transcripts of, I think it's approximately 50

   22   recordings that are the ones that are most relevant to trial.

   23   And we intend to with respect to those, to trim them down

   24   further and to submit certified proposed trial --

   25               MS. PINERA-VAZQUEZ:     I am sorry to interrupt.       This



                          SAM     OCR      RMR     CRR     RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 12 of 43 PageID #: 11355


                                        Proceedings                           12


    1   is Sylvia.    Can whoever is speaking speak up just a little bit

    2   because we are having a hard time hearing?

    3                THE COURT:   Yes, hold on.    Mr. Nitze will use the

    4   microphone and recap a little of what he said.

    5                And also in that regard, Mr. Nitze, you are right, I

    6   stand corrected.     It's not 200 total recordings, but 150

    7   total, 50 of which have now updated transcripts, right?

    8                MR. NITZE:   That's correct, Your Honor.

    9                So just to recap for those on the phone --

   10                THE COURT:   Speak louder than you are used to for

   11   the folks on the phone.

   12                MR. NITZE:   Is this better, Silvia?

   13                MS. PINERA-VAZQUEZ:    Yes.

   14                THE COURT:   Can you hear, Mr. Udolf?

   15                MR. UDOLF:   I can hear now, yes.

   16                THE COURT:   We are all going to yell.      Mr. Nitze, I

   17   know this is not your personality, but yell.

   18                MR. NITZE:   So we have recently turned over updated,

   19   and I would say fairly well updated, draft transcripts of 50

   20   or so of the recordings made during the course of the

   21   investigation.     The recordings were turned over long ago.         And

   22   our plan with respect to those and trial exhibits is to narrow

   23   them further.     We do not intend to introduce into evidence 50

   24   recordings or anything close to that, nor do we intend to

   25   introduce the full -- some of these recordings are quite



                          SAM     OCR      RMR     CRR     RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 13 of 43 PageID #: 11356


                                        Proceedings                           13


    1   lengthy.    We don't intend to introduce whole hours' worth of

    2   recordings.    And so the documents, the translations that

    3   defense counsel have now I do think provide a basis for having

    4   discussions about accuracy or if there are sections they feel

    5   were missing, that discussion can begin, but we will also be

    6   producing proposed final transcripts that will then be at the

    7   level of this is what we plan for the jury to hear and

    8   understand.

    9               THE COURT:    But those are the audios?

   10               MR. NITZE:    I am now talking about audio, yes.

   11               With respect to the documents, there are, as you

   12   say, a number of trial exhibits that will be foreign language

   13   documents, but that we expect will not be, with respect to

   14   translations, particularly controversial.         These are

   15   enterprise entity-type documents, statutes, codes of ethics,

   16   bylaws, potentially some contracts, some of which the

   17   defendants, themselves, were involved in either authoring or

   18   approving; and certainly at least with respect to defendant

   19   Napout, who we understand is not planning to contest the

   20   enterprise or the racketeering conduct, we just don't think

   21   these documents will be particularly controversial.

   22               Bank records, there are some that are like account

   23   statements, for example, where even just from the face of them

   24   you can tell how they function because if you have ever seen

   25   an account statement, they follow that format.           There are



                          SAM     OCR      RMR     CRR     RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 14 of 43 PageID #: 11357


                                        Proceedings                           14


    1   others, wire transfer requests, for example, where the thrust

    2   of what's happening in the document is clear, but where there

    3   is -- there are sentences that we plan to translate and have

    4   certified translations.

    5               We expect to have the first batches of certified

    6   documents that are potential trial exhibits, it's probably

    7   going to over-translate at first, out this week.          And we plan

    8   to continue to produce those on a rolling basis until we have

    9   all have the potential -- the proposed trial exhibits out in

   10   time for defense counsel to have their own translations done,

   11   review them with their clients.           Most of these are Spanish

   12   language documents and their clients are native Spanish

   13   speakers, at least two of the three.          So that is the plan.

   14               And then, ultimately, we would also propose to have

   15   an exhibit list and disks with trial exhibits that also would

   16   have, for those that are foreign language exhibits,

   17   accompanying certified translations attached to them.           Again,

   18   this would be before the start of trial.

   19               THE COURT:    Well, to the extent it is on a rolling

   20   basis, what is a realistic outside date for all of these

   21   translated exhibits to be produced, do you think?

   22               MR. NITZE:    We would propose to have final recording

   23   transcripts, and I am focusing on those a bit because they

   24   are --

   25               THE COURT:    Longer.



                          SAM     OCR       RMR      CRR    RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 15 of 43 PageID #: 11358


                                        Proceedings                           15


    1               MR. NITZE:    Well, they are longer and I think, my

    2   guess is that there will be particular scrutiny paid to what

    3   is said in a conversation where there are four people present.

    4   What is something that might seem -- is audible to the

    5   linguist, but not to somebody else.        Those seem important to

    6   address, and that's why we've --

    7               THE COURT:    Prioritized them.

    8               MR. NITZE:    -- prioritized those.      So we would

    9   propose to have the reduced -- those are already over, so it

   10   can start -- turned over, but to have the proposed finals in

   11   by the date of the 3500 material, which would be September

   12   25th.   That's, I think, six weeks out from the start of jury

   13   selection and likely, you know, longer than that out from when

   14   they would actually be introduced.

   15               And then to have the remainder of the exhibits three

   16   weeks out from jury selection, from November 6th.          And I want

   17   to emphasize there, these are not dates -- we are not

   18   suggesting three weeks out there's a dump of exhibits, but

   19   rather this process of batches coming, which can be reviewed,

   20   will be complete by then.

   21               I wouldn't want to say just as I sort of nod to the

   22   practical realities, could there be another document or

   23   something that would be after that deadline where we could

   24   have a discussion about whether there is sufficient time to

   25   review it, that would be one thing; but we would propose those



                          SAM     OCR      RMR     CRR     RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 16 of 43 PageID #: 11359


                                        Proceedings                           16


    1   as deadlines for trying to complete that process.

    2               THE COURT:    Okay.   Did anyone want to say anything

    3   in response to what the Government has just said?

    4               Mr. Udolf, I will start with those on the phone.

    5   Just on the documents, let's talk about documents for the

    6   moment, English translations of documents, or even respond to

    7   what I said.

    8               MR. UDOLF:    Judge, I've probably got the least

    9   ability to hear everything that was said by counsel.           So I am

   10   going to have to defer to counsel that's present at the

   11   hearing.

   12               THE COURT:    Okay.

   13               MR. UDOLF:    I got in, basically, around 50 percent

   14   of what was said.

   15               THE COURT:    Okay, let me start then with the counsel

   16   who is here.

   17               So whoever is seated here, Mr. Stillman or

   18   Mr. Pappalardo, do you want to say something regarding just

   19   the English translations of the documents?

   20               I have, obviously, ruled that you do not get

   21   translations of all the discovery documents, and then the

   22   Government has offered up a timeline, in effect, for getting

   23   the rest of the exhibit translations.

   24               MR. SCHERKER:    Your Honor, we understand the general

   25   rule on entitlement to translations, and we acknowledge that



                          SAM     OCR      RMR     CRR     RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 17 of 43 PageID #: 11360


                                        Proceedings                           17


    1   in our motion.

    2               THE COURT:    Right.

    3               MR. SCHERKER:    Pardon me, if I might address the

    4   Court from here so other people can hear?

    5               THE COURT:    No, keep that closer to you and you do

    6   not have to stand.

    7               And let me make that note, I appreciate you

    8   acknowledging it, because in your submission you really cited

    9   cases that stand for the proposition that you are entitled to

   10   translation of trial exhibits, and nothing more.

   11               MR. SCHERKER:    That is correct, Your Honor.

   12               THE COURT:    Okay.

   13               MR. SCHERKER:    And the only reason we asked for more

   14   is because of the open caveats in the Government's motion in

   15   limine on other acts, which twice, as we point out in our

   16   papers, our reply to that submission, reserves the right to do

   17   pretty much whatever they want to do at trial.

   18               THE COURT:    Right.

   19               MR. SCHERKER:    So --

   20               THE COURT:    That part of it, I think, is a bit

   21   hyperbolic, if not histrionic.       I think that assumes that the

   22   Government is going to be allowed to produce at the last

   23   minute whatever it wants or introduce.

   24               So I can assure you that we have a process that has

   25   been quite controlled with a set of deadlines that have been



                          SAM     OCR      RMR     CRR     RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 18 of 43 PageID #: 11361


                                        Proceedings                           18


    1   observed by all parties, including the Government, which has

    2   turned over well in advance of trial its 404(b), let's call

    3   it, or other acts or enterprise evidence.         And they will be

    4   required to abide by the same deadlines and its

    5   representations.

    6               MR. SCHERKER:    And, Your Honor, I appreciate that.

    7               What I was going to say was something much more

    8   modest, I hope --

    9               THE COURT:    Okay.

   10               MR. SCHERKER:    -- and certainly less histrionic, was

   11   that should an issue -- I want to be sure there's a protocol

   12   in place if the Government elects to use that option, and I

   13   don't mean with a document dump, but with a document we hadn't

   14   seen before, but elects to use that option of amplifying their

   15   case a bit --

   16               THE COURT:    Right.

   17               MR. SCHERKER:    -- and the documents involved that we

   18   have not seen before in another language, that there is a

   19   process in place where we can do what we're going to do at a

   20   more leisurely pace now.        So that we would have an opportunity

   21   to examine the translation and go through the same exercise to

   22   be sure that we know what that document is; and if we have to

   23   contest it, we can contest it.

   24               THE COURT:    I do not have any concerns based on the

   25   history of the case and how all parties have proceeded that we



                          SAM     OCR      RMR     CRR     RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 19 of 43 PageID #: 11362


                                        Proceedings                             19


    1   are going to have undue or unfair surprise.         Granted, I,

    2   obviously, am not privy to all of the discovery that has been

    3   turned over, though I know it is quite voluminous and started

    4   well over a year ago back before April 2016.          If anything, I

    5   think the complaints are that there is too much information

    6   being provided.

    7               That being said, I am also aware that the Government

    8   continues to get additional information and potential evidence

    9   from other sources from around the world and other countries,

   10   as well as more recent evidence that it got, I think around

   11   March of this year, based on what they have characterized as

   12   the obstruction or not based on, but because of what the

   13   Government has described as the obstruction part of their case

   14   against Mr. Napout, namely evidence --

   15               MS. PINERA-VAZQUEZ:     I'm sorry.    I'm sorry to

   16   interrupt again, but because I've got Bruce on the line with

   17   us, but whoever is speaking, can you speak up a little bit

   18   into the microphone?

   19               THE COURT:    All right, can you hear me now?

   20               MS. PINERA-VAZQUEZ:     Yes, that's much better.       If

   21   you speak a little bit louder, that's better, otherwise you

   22   come in and out.     Thank you.

   23               THE COURT:    All right.

   24               So what I was saying was I am also aware that some

   25   evidence is coming in belatedly it might appear.          It might



                          SAM     OCR      RMR     CRR     RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 20 of 43 PageID #: 11363


                                        Proceedings                             20


    1   appear belatedly, but there have been good reasons.           So, for

    2   example, recently obtained search evidence is some of what you

    3   cited, and I am a little concerned about the way it has been

    4   characterized as if the Government was holding out on certain

    5   information, which they only recently were able to obtain, in

    6   part.   And, again, this is the Government's representation,

    7   because of what they called obstructive conduct by your

    8   client, in terms of, I think, concealing or making some of the

    9   electronic devices in evidence unavailable to the Government

   10   for a period of time.

   11               So without wading into the specifics of it, I

   12   understand two things.      One is that there has been a large

   13   volume of discovery produced over the course of the last

   14   year-and-a-half, that there will be some additional discovery

   15   that will continue to be produced, but, and this is thirdly, I

   16   guess, I do not perceive at this time that any of the later

   17   discovery or the rolling basis of the discovery is due to a

   18   lack of diligence or forthcomingness by the Government, but

   19   rather they have been trying to release the information as

   20   soon as possible subject to certain constraints.          And I think

   21   one of the recent ones is trying to go through a privilege

   22   review of Mr. Napout's device-related evidence.

   23               So unless you are going to tell me something

   24   different, I do not perceive that we have an issue of lack of

   25   diligence or hiding the ball at all by the Government or



                          SAM     OCR      RMR     CRR     RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 21 of 43 PageID #: 11364


                                        Proceedings                              21


    1   trying to delay disclosure to gain some tactical advantage.

    2                MR. SCHERKER:   Just so we're clear on what we're

    3   asking for, I think the Court's order setting this hearing

    4   identified what -- there was no request for sanctions or to

    5   come down on the Government.       What we --

    6                THE COURT:   You want some assurance.

    7                MR. SCHERKER:   -- need is a cut-off date and

    8   assurance.    And if I might, there were statements that we

    9   would be done in April of 2016 with most of the discovery,

   10   which we point out in our motion.        But, again, we need to be

   11   done at a reasonable time before trial, and we accept

   12   September 25th as reasonable.       That's when we're getting

   13   Giglio, that's when we're getting Jencks, and I believe we

   14   suggested that in our motion.       I wasn't sure what the

   15   three-week window meant exactly, so I am having a hard time

   16   processing it.

   17                MR. NITZE:   If I could repeat just that point on

   18   scheduling.    The proposal was that by September 25th, the date

   19   that our sort of non-sensitive Jencks is due, to put it that

   20   way, we would have finalized or proposed finalized transcripts

   21   of audio recordings that we would seek to put into evidence.

   22   And the basis for that deadline being there is just,

   23   hopefully, we can begin to have those discussions before then,

   24   but those translations may be the subject of more back and

   25   forth just given the nature of the underlying substance.            It



                          SAM     OCR      RMR     CRR     RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 22 of 43 PageID #: 11365


                                        Proceedings                            22


    1   is not a contract in black and white, it's people talking

    2   picked up on a bodywire sometimes.

    3               The three-week deadline was three weeks out that we

    4   would then have our, essentially our exhibits, documentary

    5   exhibits translated and produced with certified translations.

    6   And I did want to emphasize that the proposal is not that

    7   three weeks out from the date of jury selection we turn over a

    8   disk full of all the translations and say good luck, but

    9   rather that on a rolling basis between now and then batches

   10   will be going out.      We expect the first batch to go out this

   11   week, and that process is well underway, but that would be the

   12   date by which we would have completed that process.           Again,

   13   with an exception not for a dump close to trial, but just the

   14   inevitable stray document.

   15               THE COURT:    Right.

   16               MR. MITCHELL:    Your Honor, can I ask one question

   17   just for point of clarification?

   18               It might be helpful in understanding this three-week

   19   proposal if Mr. Nitze had some sense to sort of give an

   20   estimate of the volume.      Is there pages or documents?       I mean

   21   how much material is there that I call documents that you

   22   intend to use at trial that you need to translate; and if you

   23   can give us some sense?      Because if it's a million pages or

   24   whatever, we have a different issue on the three weeks.

   25               MR. NITZE:    Right, it's not a million pages, I don't



                          SAM     OCR      RMR     CRR     RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 23 of 43 PageID #: 11366


                                        Proceedings                           23


    1   think, but it is significant volume.          And that's, in part, to

    2   pick one example, contracts related to the Copa Libertadores.

    3   They are not very lengthy contracts, we won't probably put in

    4   every contract that was inked on the tournament, but they are

    5   legal documents written in Spanish.        I think documents that

    6   all three trial defendants are intimately familiar with and

    7   whose contents are not particularly controversial, they set

    8   forth tournament additions, amounts to be paid and so forth,

    9   but there is some length and density to those documents and

   10   there will be a fair number of contracts.         I mean, you know, I

   11   don't know if dozens is right, that's probably not right, but

   12   a lot of contracts.

   13               THE COURT:    Let me interject actually, Mr. Nitze.

   14               I do not think we need to go through this exercise

   15   because let's face it, folks, you have all the documents that

   16   Mr. Nitze is discussing in the original language.          And, quite

   17   frankly, I know that your clients at least are able to

   18   understand the vast majority of those documents or read them

   19   themselves.    Plus, I am fairly certain that you all have

   20   people on your staff who are able to read and speak Spanish.

   21   So my concern here is that you all are trying to pin down in

   22   some very rigid way this process.

   23               My approach to this is going to be that the

   24   Government understands the risks that they face by not timely

   25   producing these translations of the documents that the



                          SAM     OCR      RMR     CRR     RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 24 of 43 PageID #: 11367


                                        Proceedings                            24


    1   defendants have had, for some of them, I think, for over a

    2   year.    So they will operate with that in mind and at their

    3   peril to some extent, but I do not want to get into a lengthy

    4   discussion about how much is going to be produced because it

    5   is, ultimately, not going to affect what is going to happen

    6   today.

    7               Essentially, the Government's schedule is the one

    8   they are proposing, which I find reasonable based on what they

    9   have represented so far, with the understanding that the three

   10   weeks out from trial is not the data dump date, but rather is

   11   the date of anticipated completion of the turning over of

   12   documents on a as-quickly-as-possible basis, with respect to

   13   the translation of the documents.

   14               So I apologize for interrupting you, but in part

   15   because we have people who are on the phone and Mr. Nitze

   16   could easily give a very lengthy explanation, I just do not

   17   think it is going to change anything.          We are going to go with

   18   the representation that these are the deadlines that the

   19   Government is aspiring to meet.          If there are any documents

   20   that get disclosed late with respect to the translations and

   21   the parties generally feel like they are at a disadvantage,

   22   then you should bring that to my attention immediately.

   23               The Government obviously, as I said before, runs the

   24   risk that they will not get the document in if they do not

   25   turn over the translation in time.          So that is just where we



                          SAM     OCR      RMR      CRR    RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 25 of 43 PageID #: 11368


                                        Proceedings                           25


    1   are.

    2               And my apologies, Mr. Mitchell.       It is not that your

    3   question is irrelevant from your point of view, I just do not

    4   think it is going to change anything we decide today.

    5               MR. MITCHELL:    I appreciate it, Judge.

    6               THE COURT:    So just to recap, September 25th is

    7   certainly the aspirational date and the target date for the

    8   Government to turn over the relatively finalized I think, or

    9   finalized transcripts, English translations of the audio

   10   evidence.

   11               And then three weeks out, I do not know what the

   12   date is exactly, but it would be sometime in mid October, the

   13   Government will endeavor to complete its production of all

   14   English translation of discovery documents that are going to

   15   be used as exhibits at trial.

   16               This does not foreclose any defendant from

   17   complaining about the later disclosure, nor does it foreclose

   18   the Government from introducing documents or seeking to

   19   introduce documents that they discover later.            Obviously, they

   20   are going to have to explain why they were turned over later,

   21   or even admitting something that was turned over before, but

   22   only gets a translation after these deadlines based on some

   23   explanation for why they are being produced in English later

   24   than these dates.

   25               I think what the defense is getting out of this is,



                          SAM     OCR      RMR     CRR     RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 26 of 43 PageID #: 11369


                                         Proceedings                          26


    1   at least, some guidelines about which you can then cite as a

    2   basis for a potential unfairness or prejudice argument, but

    3   nothing is written in stone.        It's all going to be governed on

    4   a case-by-case/document-by-document basis.         So no one should

    5   go away thinking they have gotten hard and fast deadlines.

    6               In that vein, Mr. Pappalardo, I am not going to set

    7   a discovery cut-off.      I think as is true in all, or most

    8   criminal cases I should say, it is a rule of reason.           The

    9   Government will certainly have to explain any belated

   10   disclosure that the defense claims is prejudicial to them.

   11   And, obviously, the defense will have to explain why they are

   12   prejudiced by this.      I think, as I said before, I have not

   13   come to the conclusion that the Government has acted in any

   14   dilatory fashion, and I think given the volume of evidence and

   15   the number of defendants and the sources, the disparate

   16   sources of that evidence, they have tried to act responsibly.

   17               But that does not mean that at some point they

   18   attempt to get in a document or turn over something that they

   19   want to use that I bar because it is produced too late for

   20   this trial for these defendants.

   21               Let's turn to the second --

   22               MR. STILLMAN:    Your Honor --

   23               THE COURT:    Yes.

   24               MR. STILLMAN:    I'm sorry.

   25               THE COURT:    Mr. Stillman, please.



                          SAM     OCR       RMR    CRR     RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 27 of 43 PageID #: 11370


                                         Proceedings                          27


    1               MR. STILLMAN:     And may I ask just a question about

    2   the translations?       And I appreciate what we've gotten,

    3   received, and what we are going to receive.         My question is,

    4   and so we are doing our part trying to, you know, listen and

    5   look at the translations.        My question is are we listening to

    6   the same tape recording; that is to say, we have the material

    7   you produced -- I don't mean to speak directly, Your Honor.

    8               THE COURT:     That's okay.     You can direct it to

    9   Mr. Nitze and team --

   10               MR. STILLMAN:     All right.

   11               THE COURT:     -- because they will probably understand

   12   what you're saying, I do not.

   13               MR. STILLMAN:     So I mean are you listening to the

   14   same tape that I am listening to when you are making your

   15   translations or is yours -- do you have an enhanced tape from

   16   which you're making the translation?

   17               That is my question.

   18               MR. NITZE:     To my understanding, we are listening to

   19   the very same audio file.

   20               MR. STILLMAN:     Thank you.

   21               THE COURT:     Any enhanced tapes, though, should be

   22   turned over.

   23               MR. NITZE:     Yes, and we -- that I know of, and we

   24   can doublecheck and I will be in touch with you, we haven't

   25   enhanced any of the audio files.          We have been dealing with



                          SAM      OCR      RMR     CRR    RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 28 of 43 PageID #: 11371


                                         Proceedings                           28


    1   the audio files as they are.        So I think the answer is yes, we

    2   are listening to the same files.

    3                MR. STILLMAN:   Thanks, Sam.

    4                THE COURT:   Okay.    Now, I am going to state the

    5   obvious, you all can work some of these issues out amongst

    6   yourselves and not --

    7                MR. PAPPALARDO:     Your Honor --

    8                THE COURT:   Yes.

    9                MR. PAPPALARDO:     -- if I may.    I have one question

   10   with regard to the representation now for the second time by

   11   the Government that we will receive the non-sensitive Jencks

   12   by September 25th.

   13                What is the sensitive Jencks; and who determines

   14   that sensitivity, who decides that?        And what is the deadline

   15   for the production of the sensitive Jencks, and why is it

   16   sensitive?

   17                THE COURT:   I interpreted this as relating to the

   18   motion that you filed for the unsealing of certain -- well,

   19   actually no, I should not say that.        That I have already

   20   resolved.

   21                MR. PAPPALARDO:     Right.

   22                THE COURT:   I do believe we addressed this earlier,

   23   and I think I understand what the Government is referring to,

   24   but it has not necessarily been the subject of any fuller

   25   briefing or discussion.



                          SAM     OCR       RMR    CRR     RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 29 of 43 PageID #: 11372


                                        Proceedings                           29


    1               What can you say about that because we should, at

    2   least, alert the parties to this issue?

    3               MR. NITZE:    Yes, and we can review the transcript.

    4   I believe this was discussed on the record, but I believe the

    5   idea is that on September 25th, to the extent there are

    6   statements of witnesses, the disclosure of which would pose

    7   some risk, either to -- I mean the obvious one being to the

    8   witness, themselves, or to some other aspect of investigative

    9   activity, that we would seek leave to disclose those

   10   statements later or potentially to have a redacted version

   11   turned over on September 25th with the sensitive details to

   12   come at a later date.      That would be the idea.

   13               THE COURT:    Let me ask you one question, though.        I

   14   think the time Ms. Mace, as I recall, was representing the

   15   Government at that appearance that we had that conversation,

   16   maybe I incorrectly assumed that that had to do with what was

   17   addressed with respect to the search warrant applications.

   18   And that has already been addressed, the parties have received

   19   those with some limitations, but there is something else, I

   20   gather, with respect to sensitive arguable Jencks material.

   21               MR. NITZE:    Well, yes, and even in that context

   22   there may be statements that are far more explicit and

   23   revealing of locations or identities of people that we might

   24   seek leave to submit at a later date.         We are committed to

   25   turning over Jencks in advance of witness testimony and making



                          SAM     OCR      RMR     CRR     RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 30 of 43 PageID #: 11373


                                         Proceedings                          30


    1   sure defense counsel has an opportunity to digest it and be

    2   prepared to cross-examine witnesses, but there are real

    3   sensitivities at issue here, which the Court is aware of and I

    4   think the parties are too.        And so there likely are going to

    5   be sets of statements or particular statements within

    6   documents that we will seek leave to disclose at a later date

    7   to respect those interests.

    8               THE COURT:    The one thing we ought to do then maybe,

    9   and we haven't done this yet, is probably build in a deadline

   10   for briefing of that because the Government anticipates that

   11   they will be seeking to delay the disclosure of certain Jencks

   12   material, if I am hearing you correctly.         I would like to

   13   build in a deadline for that briefing because I am assuming

   14   that it will come, but you are anticipating filing that on

   15   September 25th, I gather.

   16               MR. NITZE:    Well, September 25th, which is six weeks

   17   from the start of jury selection, which is well in advance of

   18   when we normally would be turning over Jencks.           And so I think

   19   the framework, to step back, was we will produce Jencks early,

   20   significantly early.

   21               THE COURT:    Yes.

   22               MR. NITZE:    So that defense counsel has an

   23   opportunity to begin to digest it and take all of that into

   24   account.    And then at that point we would notify the Court

   25   about which, if any, materials would be held for later



                          SAM     OCR       RMR    CRR     RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 31 of 43 PageID #: 11374


                                        Proceedings                           31


    1   production.    But that is so far out from six weeks out from

    2   even the start of jury selection, that there would be time

    3   then to resolve that question.       And should the Court determine

    4   that, look, this statement needs to go over now or this one

    5   should go -- that we would propose a framework for the

    6   disclosure of those materials.

    7               THE COURT:    I do not necessarily have a problem with

    8   September 25th being the date on which the Government moves,

    9   because obviously that is the last date on which you could

   10   move since you will otherwise be required to turn over all

   11   Jencks if you do not move, but I do not have any sense of what

   12   volume of materials we are talking about.

   13               Not to pick up Mr. Mitchell's refrain, but in other

   14   words percentage-wise of the Jencks that would be turned over

   15   in the trial, are we talking about 50 percent you are going to

   16   seek to or maybe 10 percent?

   17               MR. NITZE:    Nothing close to 50 percent.

   18               THE COURT:    Okay.

   19               MR. NITZE:    We are going to put the percentage well

   20   below that.

   21               THE COURT:    Let's do this then, then I am going to

   22   build into the schedule the filing of any request to delay

   23   disclosure of Jencks material and fix that as the date on

   24   which you will file that.       Maybe that is the default date, in

   25   effect, but now at least all the parties are aware that such a



                          SAM     OCR      RMR     CRR     RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 32 of 43 PageID #: 11375


                                        Proceedings                           32


    1   motion will be coming.      So, basically, you are going to be

    2   seeking delayed disclosure of -- when I say delayed, delayed

    3   vis-a-vis the dates that we have set.

    4               MR. NITZE:    Less early.

    5               THE COURT:    Yes, right, less early.

    6               MR. MITCHELL:    Less early.

    7               THE COURT:    The Government has a way of spinning

    8   things, don't they; less early.

    9               So let's set then a response date of -- which would

   10   be difficult, I think, because this is going to be in camera,

   11   I suspect, largely, but I will give the defense two weeks to,

   12   at least, file something in response.         And I probably will not

   13   require a reply of the Government.        You certainly can if you

   14   want, but I am going to try to decide --

   15               MS. PINERA-VAZQUEZ:     I'm sorry, this is Sylvia

   16   again.   Judge, you are coming in and out.

   17               THE COURT:    Okay.

   18               MS. PINERA-VAZQUEZ:     We can barely hear you.

   19               THE COURT:    Yes, all right.     So, basically, what I

   20   have instructed the Government and advised the defense is that

   21   September 25th will be the due date, which it is in effect now

   22   anyway, for the Government to file a motion seeking to give

   23   less early disclosure of Jencks material than the 25th for

   24   some portion of the Jencks material, the Government thinks

   25   it's less than 50 percent, perhaps I guess far less than



                          SAM     OCR      RMR     CRR     RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 33 of 43 PageID #: 11376


                                        Proceedings                           33


    1   50 percent.    And the defense will have two weeks to respond.

    2               Now, I recognize that the opportunity for the most

    3   fullsome or meaningful response will be limited by the fact

    4   that the Government is likely to seek to file their motion in

    5   part in camera or under seal because I will have to see the

    6   statements to appreciate the Government's argument, but I will

    7   ask the Government to file as much of it as it can on the

    8   public record and redact only as necessary so that the defense

    9   has some opportunity to respond.

   10               MR. NITZE:    Understood, Your Honor.

   11               THE COURT:    So what is two weeks from September

   12   25th?   October --

   13               THE COURTROOM DEPUTY:        October 9.

   14               THE COURT:    -- okay, October 9.     I will resolve that

   15   motion before the end of the week so that to the extent that I

   16   deny any portion of it, then the release of documents will

   17   happen, I think, four weeks before trial or thereabout.

   18               So let's turn now, unless anyone has any other

   19   comments, to the second part of the request for

   20   translation-related discovery, if you want to call it that,

   21   from the Government.

   22               In Mr. Napout's motion he seeks to get original

   23   Spanish language transcriptions for all audio recordings in

   24   Spanish, and then the other defendants are seeking to have

   25   that apply to all foreign language audio recordings, which may



                          SAM     OCR      RMR      CRR       RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 34 of 43 PageID #: 11377


                                        Proceedings                           34


    1   just be Portuguese, but I guess any other foreign language

    2   audio recordings.

    3               The Government has responded that they do not have

    4   any such original language transcripts, and also that they are

    5   not required to produce them.

    6               Again, I am inclined to agree with the Government on

    7   this.   They have provided the English language transcripts.

    8   The defense has what they need to determine if they agree with

    9   those transcripts based on its own review of the original

   10   language transcripts.

   11               MR. STILLMAN:    Your Honor, if they don't have them,

   12   the other part of it is irrelevant.        You say you don't have

   13   them, you don't have them.

   14               MR. NITZE:    Right.

   15               THE COURT:    Well, right, but then I don't know if

   16   Mr. Napout was asking that they be created.         So I wanted to

   17   finish that thought by saying --

   18               MR. SCHERKER:    No, Your Honor.

   19               THE COURT:    Okay.

   20               MR. STILLMAN:    They can't give what they don't have.

   21               THE COURT:    Okay, fine.

   22               MR. SCHERKER:    The only reason for wanting what we

   23   thought were what would in the normal course of events be the

   24   original Spanish language, so we could compare the

   25   translations.     We were never going to ask Mr. Nitze to



                          SAM     OCR      RMR     CRR     RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 35 of 43 PageID #: 11378


                                        Proceedings                           35


    1   recreate a Spanish-language version of the tapes.

    2                THE COURT:   So can I just ask you folks one simple

    3   question?

    4                Why didn't you just ask the Government that question

    5   instead of filing a whole motion?        I do not mean to be obtuse

    6   here.

    7                MR. SCHERKER:   Your Honor, we did not know that

    8   there were no original language.         We know in the ordinary

    9   course of this process they were usually taken down in the

   10   original language and then translated verbatim.

   11                THE COURT:   You know, there is a thing called a

   12   telephone.    You pick it up, you call the Government and say,

   13   Do you have any?     Then you don't have to spend all this time

   14   and money filing a motion.        Just a thought for the future,

   15   please.

   16                MR. SCHERKER:   Noted, Your Honor.

   17                THE COURT:   Okay.    So I understand it does not

   18   necessarily obviate your first request, but I am just saying

   19   we could have made this a little shorter.

   20                So the second request is effectively mooted because

   21   the Government does not have what the defendants are seeking,

   22   and the defendants acknowledge that they are not asking the

   23   Government to create such original language transcripts.

   24                So I think we have resolved all of the pending

   25   issues.    Does anyone want to add anything, of the lawyers who



                          SAM     OCR      RMR     CRR     RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 36 of 43 PageID #: 11379


                                         Proceedings                            36


    1   are here?

    2               MR. SCHERKER:    Yes, Your Honor.

    3               THE COURT:    Yes.

    4               MR. SCHERKER:    This only arose as a result of the

    5   Government's recent response to our motion for the

    6   translations.     So this actually isn't part of our motion, but

    7   it is before the Court because the Government has advised that

    8   what we actually have now are draft transcripts.          And that the

    9   Government's provided to the co-defendants updated and, now we

   10   understand, higher quality draft transcript.

   11               THE COURT:    I think more refined probably.       I don't

   12   know if higher quality is the right term, but the Government,

   13   I presume, repeatedly reviews its translations with someone

   14   who is listening to the recording and decides if it's accurate

   15   and tries to make it more accurate.

   16               MR. SCHERKER:    I understand.       The stipulation that

   17   is at the center of this dispute, the updated, for lack of a

   18   better description --

   19               THE COURT:    The draft transcripts.

   20               MR. SCHERKER:    -- updated drafts have been provided

   21   to my co-defendants.

   22               THE COURT:    Right, the reason they have not been

   23   provided to you, as I understand it, is because you are not

   24   willing to sign the draft transcript stipulation.

   25               MR. SCHERKER:    Your Honor, what we objected to, and



                          SAM     OCR       RMR    CRR      RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 37 of 43 PageID #: 11380


                                         Proceedings                          37


    1   I am reading from it, is all draft transcripts, whether in the

    2   possession of defense counsel or the defendant, will be

    3   returned to the United States when final transcripts are

    4   provided by the United States when the jury is sworn in this

    5   case, whichever occurs first.

    6               THE COURT:    Okay.

    7               MR. SCHERKER:    They are going to give them to us and

    8   then they want them back.

    9               THE COURT:    Once you get the final transcripts.

   10               MR. SCHERKER:    But if I heard Mr. Nitze correctly,

   11   and actually it is in his letter as well, but with the finals

   12   that we are going to get, the finals that we are going to get

   13   on September 25th or thereabouts is certified translated --

   14   I'm sorry, wrong page -- is finalized transcripts of those

   15   recordings or excerpts thereof it intends to introduce at

   16   trial.

   17               So we are not going to get a final transcript of all

   18   of the recordings.

   19               THE COURT:    Correct.

   20               MR. SCHERKER:    And the only thing we will have is

   21   the draft and we are prohibited from using it because we have

   22   to give it back.

   23               THE COURT:    Yes.

   24               MR. SCHERKER:    That's what we object to.

   25               THE COURT:    You can object, but you do not really



                          SAM     OCR       RMR    CRR     RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 38 of 43 PageID #: 11381


                                        Proceedings                           38


    1   have any rights in this regard.          In other words, the

    2   Government is providing to you as a courtesy a draft of the

    3   exhibit or potential exhibits.       If the Government decides not

    4   to use that audio as an exhibit, you do not really have a

    5   right to their drafts and they are being provided as a

    6   courtesy to assist you in your trial preparation.

    7               So they can condition the provision of those drafts

    8   to help you prepare for trial on the condition that you give

    9   it back if they decide they do not want to use the exhibit and

   10   once they give you a finalized transcript of anything that

   11   they are going to use as an exhibit.

   12               MR. SCHERKER:    Your Honor, if I might, before I

   13   address why I made this request, and it only came up in the

   14   response, I actually did some research in a room with Windows,

   15   and if I could approach the bench and provide the prosecution.

   16               THE COURT:    All right.      You are going to give a copy

   17   to the prosecution as well?

   18               MR. SCHERKER:    Yes, of course.

   19               THE COURT:    Okay.   When you say with Windows, you

   20   mean the computer type or the ones that let you see outside?

   21               MR. SCHERKER:    Actually both.

   22               THE COURT:    Okay, I assumed as much.

   23               MR. STILLMAN:    As long as he returns it when he --

   24               THE COURT:    Right, exactly.

   25               MR. SCHERKER:    This is literally the only case I



                          SAM     OCR      RMR      CRR    RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 39 of 43 PageID #: 11382


                                        Proceedings                           39


    1   could find dealing with drafts.          It's written by Judge Rovner

    2   of the Second Circuit when she was a district judge, and it

    3   involved draft transcripts.       And what Judge Rovner says is

    4   that, this is on page 3 of the right-hand number page:

    5               The Government offered to produce draft transcripts,

    6   but only on the condition that the defendants waive any right

    7   to use the drafts at trial.

    8               Exactly what the Government is doing here.         And not

    9   to read the whole decision, in the penultimate paragraph the

   10   Court says:

   11               There may well be disputes as to the accuracy of the

   12   final transcripts and the defendant is entitled to review,

   13   without conditions, not only the final versions, but any and

   14   all prior drafts prepared by the Government as well.

   15               Now, for us, the Court is well aware from our

   16   severance papers that there is exculpatory evidence for

   17   Mr. Napout on those tapes.

   18               THE COURT:    All right, fine.

   19               MR. SCHERKER:    That is a draft transcript.

   20               THE COURT:    No, the exculpatory evidence is on the

   21   tape.

   22               MR. SCHERKER:    It's in a foreign language.

   23               THE COURT:    Fine.   You can get it translated if you

   24   want to use it, although you are not going to be allowed to

   25   use a tape of Mr. Napout.       I don't know if it is Mr. Napout or



                          SAM     OCR      RMR      CRR    RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 40 of 43 PageID #: 11383


                                        Proceedings                              40


    1   somebody else saying something that is exculpatory.

    2               As I understand it, the Government actually wants to

    3   introduce that anyway as a false exculpatory.             But regardless

    4   of who gets to use it, you are still not entitled to the

    5   Government's draft transcript if they decide they are not

    6   going to use it.     You certainly are entitled to the tapes and

    7   to produce your own translation of it.           No one is barring you

    8   from doing that.     But you are asking for the Government to

    9   produce for you a transcript that you want to use for whatever

   10   purpose at trial or to prepare for trial and to keep in

   11   perpetuity.    There is no requirement that they do that.          And

   12   the limited caselaw even that you cited me only stands for the

   13   proposition that you are entitled to translations of whatever

   14   the Government decides to use at trial.

   15               I actually think I would refer you again to Mayes,

   16   Judge Ross' decision, where she makes this point quite well

   17   about why these draft transcript stipulations are enforceable,

   18   which is that the Government gives these recordings to assist

   19   defense at trial and that parting with these documents carries

   20   a risk to the Government.       In their unedited, unfinalized

   21   form, draft transcripts will almost inevitably contain typos,

   22   ambiguities and preliminary impressions subject to subsequent

   23   revision.    It is for this reason that the Government only

   24   discloses them pursuant to the parties' execution of a

   25   stipulation agreement limiting their use.           And then it goes on



                          SAM     OCR      RMR     CRR      RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 41 of 43 PageID #: 11384


                                        Proceedings                           41


    1   to say that the stipulation ensures the accuracy of the

    2   transcripts that are ultimately used and prevents the accuracy

    3   of the transcripts from becoming the subject of pretrial

    4   litigation.

    5               So with all due respect to Judge Rovner, I do not

    6   agree that defendants have the right to have the Government's

    7   draft translations to use however they want to.

    8               MR. SCHERKER:    Well, Your Honor, if I might then,

    9   the procedure the Court is suggesting, and I would like to

   10   request modestly that the door be left open if there is some

   11   evidence on draft transcripts that we need because I guess

   12   what I am hearing from the Government is if we identify

   13   favorable evidence on the draft transcript, we have to then go

   14   out and get it retranslated and then give the drafts back to

   15   the Government.

   16               THE COURT:    Exactly.

   17               MR. SCHERKER:    And then we have to fight about the

   18   accuracy of that translation with the Government.          That seems

   19   to be the structure that is being created.

   20               THE COURT:    That is the upshot.     And, in fact, if

   21   anything, though, you are getting the benefit of the

   22   transcript early on to decide if you think there is something

   23   valuable to you in that tape and, therefore, you can get your

   24   own translation.

   25               MR. SCHERKER:    Nothing would bar us from using the



                          SAM     OCR      RMR     CRR     RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 42 of 43 PageID #: 11385


                                        Proceedings                            42


    1   draft, identifying favorable evidence, and then creating our

    2   own transcript of that section of the tape?

    3               THE COURT:    Absolutely not.     That is the purpose of

    4   it to some extent, or that is the benefit certainly of it.

    5   But you do have to do the work yourself if you are going to

    6   decide you want to use it.       You cannot use the Government's

    7   draft transcripts.      They give them to you under that

    8   condition, and that has been upheld and I agree that that is

    9   appropriate here as well.

   10               So if you want the draft transcripts for that very

   11   purpose, to decide if they are useful to you, you have to

   12   abide by the conditions that the Government gives them to you

   13   under.

   14               How is that for putting a preposition at the end?

   15               Okay, so if you want them, like I said, to some

   16   extent the complaint about not getting certain transcripts is

   17   self-created.     You have to sign that stipulation if you want

   18   the 50 updated draft transcripts.

   19               Anything else that we need to resolve?

   20               Okay, terrific.     Nice seeing you all again, and I

   21   look forward to hearing from everyone soon enough.

   22   September 25th is our next day.

   23               Thank you to all of you on the phone.        I apologize

   24   that the acoustics were less than perfect.

   25               MR. NITZE:    Thank you, Judge.



                          SAM     OCR      RMR     CRR     RPR
Case 1:15-cr-00252-PKC-RML Document 970 Filed 08/08/18 Page 43 of 43 PageID #: 11386


                                           Proceedings                        43


    1               THE COURT:       Okay, thank you.

    2               (Matter adjourned. )

    3

    4

    5

    6

    7

    8                            *         *    *    *      *

    9

   10   I certify that the foregoing is a correct transcript from the
        record of proceedings in the above-entitled matter.
   11

   12       /s/ Stacy A. Mace                              August 24, 2017
        _________________________________                  ________________
   13         STACY A. MACE                                DATE

   14

   15

   16

   17

   18

   19

   20

   21

   22

   23

   24

   25



                        SAM          OCR       RMR   CRR        RPR
